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            IN    THE TINITED STATES DXSTRICT COURT FOR
                       SOIITHERN DISTRICT OF GEORGIA
                                                                                      '#'^tlfff'F^
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                              DUBLIN DIVISION
                                                                                       2fr[ JUL Pt{

L/NTTED STATES OF AMERICA

                                                    *       cR 312- OO4-7

MERCEDES D . .]ENKINS




                                           ORDER




      Before       the     Court     is    Defendant's           motion      for      modification

of his     sentence under 1-8U.S.C"                      S 3582(c) (2).

      As a general           rule,    a court           may not modify           a sentence       once

it   has    been        imposed.           i-8 U.S.C.           S 3582(c).             One of       the

exceptions         is    that    a court         may reduce            a   sentence        that     was

"based     on     a      sentencing         range        that        has   subsequently           been

lowered     by the        Sentencing        Commission pursuant                  to     28 U.S-C.      S

s44(o\."         18 U.S.C.       S 3s82(c) (2).             Section        3582(c) (2) is only

triggered        by an amendment lj-sted                   in    u.s.S.G.          S 181 .10(c).

Defendant        cites     to Amendmen! 599, which is a listed                           amendment.

      Amendment            599       was     enacted            Eo     clarify         under      what

circumstances            a weapons enhancement may properly                           be appl-ied     to

an   underlying           offense         when      the     defendant            has     also     been

convicted        for     the use or possession                  of    a fiream         pursuant       to

18 U.S.c.        S 924 (c) .       United states           v. Prinq]e.           350 F'3d L172,

l-179 (11tr' cir.         2003).      Amendment 599 amended the                        "Application
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Notes" to U.S.S.G,              S 2K2.4 ar'l is               applicable         to sentences for

offenses      for    which the guidel-ines                    are determined           by reference

to   S 2K2.4 .

        In   this    case,      on ,fune 20,            201-3, Defendant              was sentenced

to   serve     a     5o-month           term    of      imprj-sonmenu            on    a   charge     of

unl-icensed dealing           in firearms            and a 96-month term on a charge

of distribution           of cocaine           base.      Defendant's            firearm       offense,

unlicensed          dealing        in    firearms.            falIs     under         United     SEates

sentencing          Guideline           S 2K2.1-.             Indeed,        Defendant         was not

charged with         or convicEed of a crime under 18 U, S. C. S 924 (c) .

Accordingly,            Amendment           599      is       completely           irre]evant         to

Defendant's          guideline           computsation            and   sentence.           Moreover,

Amendment 599            went       into       effect         on    November          1,   2000,     and

therefore       is      not   an        amendment         that      subsequentfv           lowered        a

guideline      range applicable                to Defendant,             who was sentenced            in

2013.

        Upon the foregoing,                Defendant's             motion to reduce sentence

based upon Amendment 599 (doc.                          no.      311-) is       hereby 9I|NED. --\

        ORDERENTERED at Augusta,                       Georgia,         t.his

of Jul-y,     2 015 .




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